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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-61-RAJ

10          v.                                           DETENTION ORDER

11 PAULINE ANDERSON,

12                                Defendant.

13 Offenses charged:

14          Evasion of Payment of Income, Income Tax Evasion, and False income Tax.

15 Date of Detention Hearing: June 21, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          The Court conducted an evidentiary hearing regarding three alleged violations related to

23 liquidation of assets in violation of a special condition of release. Defendant admitted violation



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 1 one and partially admitted violations two and three. The evidence presented established

 2 defendant disregarded the condition that she report property she wished to sell, sold property

 3 without the permission of her probation officer and failed to provide a written accounting of the

 4 property she sold or put up for sale. The evidence shows but for an independent law

 5 enforcement investigation, the probation office and the Court would not have known about many

 6 items defendant has disposed of or put up for sale. As a condition of release defendant was

 7 required to place into her attorney’s trust account all proceeds of items sold or liquidated. She

 8 failed to do so. Instead she liquidated some of her assets and cashed the checks she received.

 9 The Court released defendant on strict conditions because she owns three piece of real property,

10 the case involves large sums of money, some of which is not accounted for, and because

11 defendant is an Australian citizen. Given her assets and Australian citizenship, she presented a

12 serious risk of flight. The evidence presented at the evidentiary hearing has shown defendant is

13 an increased risk of flight because she has hidden how she has disposed of some of her assets and

14 has also shown she is not willing to abide by conditions of release imposed by the Court.

15          It is therefore ORDERED:

16          (1)    Defendant shall be detained pending trial and committed to the custody of the

17 Attorney General for confinement in a correctional facility separate, to the extent practicable,

18 from persons awaiting or serving sentences, or being held in custody pending appeal;

19          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

20 counsel;

21          (3)    On order of a court of the United States or on request of an attorney for the

22 Government, the person in charge of the correctional facility in which Defendant is confined

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 1 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 2 connection with a court proceeding; and

 3          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

 4 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

 5 Officer.

 6       DATED this 21st day of June, 2012.

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                                                          BRIAN A. TSUCHIDA
 9                                                        United States Magistrate Judge

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     DETENTION ORDER - 3
